       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                        JUDGMENT RENDERED AUGUST 23, 2024



                                      NO. 03-23-00806-CV


  Elizabeth Weston, Co-Trustee and Fiduciary of The Estate of Glenn Weston, Appellant

                                                 v.

                                   Graham Weston, Appellee




       APPEAL FROM COUNTY COURT AT LAW NO. 2 OF COMAL COUNTY
        BEFORE CHIEF JUSTICE BYRNE, JUSTICES TRIANA AND KELLY
    DISMISSED FOR WANT OF PROSECUTION -- OPINION BY JUSTICE KELLY




This is an appeal from the order authorizing the expenditure of funds signed by the trial court on

October 26, 2023. Having reviewed the record, the Court holds that appellant has not prosecuted

her appeal and did not comply with a notice from the Clerk of this Court. Therefore, the Court

dismisses the appeal for want of prosecution. Appellant shall pay all costs relating to this appeal,

both in this Court and in the court below.
